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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )            4:01CR148
                        Plaintiff,         )
                                           )
     vs.                                   )            ORDER
                                           )
DARRELL W. MILLER,                         )
                                           )
                 Defendant.                )


     IT IS ORDERED that a revocation hearing is set to commence at

1:00 p.m. on November 1, 2006 before the Hon. Richard G. Kopf,

United States District Judge, in Courtroom #1, United States

Courthouse, Lincoln, Nebraska.


     Dated: September 19, 2006.


                             BY THE COURT


                             s/ David L. Piester

                            David L. Piester
                            United States Magistrate Judge
